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                             EXHIBIT 1003




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        5.      I have been asked by the Petitioner in the above captioned case,

  to provide testimony relating to heat transfer devices for cooling bearings

  and other heat generating components in flywheels and other spinning

  devices. I am being paid in connection with this declaration at a rate of

  $250 per hour. I am not employed by Petitioner, and I have no personal or

  financial interest in the outcome of this proceeding.

        6.      During the last four years, I have testified as an expert witness

  in the following trials or inter partes reviews.

             a. Deposition: Cecil v. City of Lexington, NC, May 2, 2016

             b. Declaration and Deposition: Logic Technology Development,

                LLC v. Fontem Holdings 1 B.V., IPR2015-00098, Exhibit

                1002, October 21, 2014.

             c. Declaration: Fontem Holdings 1 B.V. v. VMR Products, LLC,

                IPR2015-00859, Exhibit 1002, March 10, 2015.

        7.      In preparation to give testimony in this case, I have reviewed

  Exhibits 1001-1042 of the inter partes review petition.


  Overview of the ’930 Patent

        8.      The ’930 patent relates generally to flywheel devices and, more

  particularly, to a heat transfer assembly for cooling or dissipating heat from

  the bearings of a flywheel device. Exhibit 1001, Col. 1, ll. 15-18. The

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